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                                                                                              AT ROANOKE,VA
                                                                                                    FILED

                                                                                              d2V 15 ,
                                                                                                     2218
                         IN TH E UNITED STATES DISTRICT COURT
                        FOR TIIE W ESTERN DISTRICT OF W RGINIA                             JULI
                                                                                              A .       EY CLFRK
                                                                                          BY:
                                   ROANOK E DIW SION

TAY LO R NA TH AM EL TO W ER ,                     )
                                                   )   CASE NO.7:18CV00368
                         Plaintiff,                )
V.                                                 )   M EM OM NDUM OPIM ON
                                                   )               .
GREGORY P.W INSTON c AL.,                          )   By: Glen E.Conrad
                                                   )   SeniorUnited StatesDistrictJudge
                         D efendants.              )
        TaylorNathanielTower,aVirginia inmateproceeding pro K ,filed thiscivilrightsaction

plzrsuantto 42 U.S.C.j1983,alleging thathe washoused tmder tmconstimtionalconditions
whileconfined attheNew RiverValleyRegionalJail(EW RVRJ'').1 Afterreview oftherecord,
the courtconcludesthatthiscivilaction mustbesum mmily dismissed.

        Tower's allegations are sparse:(1);1lwas housed in Protective Custody segregation
withoutaclassifcation forover4 months. 12-15-17to 4-15-18'';(2)ç:Ihavebeen deniedmy
dueprocessandaccesstothegrievanceprocessmultipletimes'';and(3)&$Ihavenotbeenoutside
forrecreationsinceDecember6,2017.''Compl.2,ECFNo.1.Towerfiledthisj 1983actionIn
July 2018,seeldngm onetary dam agesagainstdefendantsGregoryP.W inston andKevin Jones.

        Under47U.S.C.j1997e(c)(1),thecourtmay dismissany j1983 actionGlwithrespectto
prison conditions...ifthecourtissatisfiedthattheaction isfrivolous,malicious,(orqfailsto
statea claim upon which reliefcan be granted.'' Section 1983 perm itsan aggrieved party to Iile

a civil action against a person for actions taken tmder color of state 1aw that violated his

constitutionalrights. See Cooperv.Sheehan,735 F.3d 153,158 (4th Cir.2013). To state a
clain'i,a j1983 complaintmustbe more than Gllabelsand conclusions''or Gtnaked assertions

        1 Tow ernotifedthecourtonO ctober25,2018:thatheisnow coptined intheVirginiaPeninsulaRegional
JailinWilliamsburg,Virginia,ajailfacilitylocatedwithm thejurisdictionoftheUnitedStatesDistrictCourtforthe
Eastern DistrictofVirginia.



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devoid offurtherfacmalenhancement.''2 A shcroftv Iqbal,556U.S.662,678(2009).Rather,
                                                           .



ç1acomplaintmustcontain suffcientfactualmatter,accepted astrue,to statea claim to reliefthat

isplausibleon itsface.''Id.

        Tower's complaint, as a whole, fails to state facttlal matter sufficient to state any

plausibleclaim againstthedefendantshehasnnmed.Foraviablej1983claim,:&aplaintiffmust
pleadthateach Governm ent-offkialdefendant,through theofficial'sown individualactions''has

caused a violation of the plaintiffs constimtionalrights. Id.at676. Tower doesnotidentify

whetherthe defendants are offkials atNRVRJ orstate facts aboutany actionsthey tmdertook,
                                                  .




personally,in violation ofhisconstim tionalrights. In any event,llisallegationsdo notindicate

thathe suffered any deprivation ofconstimtionalrights.

        The Eighth Amendm ent protects prisoners from cnzel and tmusual living conditions.

Rho1desv.Chapman,452U.S.337,347 (1981). However,ûGltlotheeitentthatsuch conditions
are restrictive and even harsh,they are partofthe penalty thatcriminaloffenders pay fortheir

offenses against society.'' Id. To state a constitutional claim regarding past conditions of

continem ent,aprisonermustGIproduce evidence ofaseriousorsignificantphysicaloremotional

injury resulting 9om the challenged conditions.'' Shakkav.Smith,71F.3d 162,166 (4th Cir.
1995).Towerfailstoidentify any injury heincurredfrom theallegedlack ofoutsiderecreation




       2 The courthas omitted internalquotation marks, alterations,and citations,here and elsewhere in this
memorandllm opinion,exceptwhereothem isenoted.



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or from segregated confinement. Accordingly, he states no facm al basis for an Eighth
Am endmentclaim againstanyoneatNRVRJ.3

        Toweralso com plainsaboutbeing housed in protective custody segregated confm ement,

withoutdue process. A convicted inm ate's federally protected liberty GGinterests are limited to

the freedom from restraint which, while not exceeding the sentence in such an unexpected

m nnner asto give rise to protection by the Due Process Clause of its own force,nonetheless

imposesatypicaland sigzlificanthardship on the inm ate in relation to the ordinmy incidents of

prison life.'' Sandin v.Conner,515 U.S.472,484 (1995). Ifthehousing stamsthe inmate
challengesdid notimpose atypicalhardsllip on him ,then he has no federally protected liberty

interest and, thus,no constitutional right to particular procedural protection related to that

assignment. J.IJ.at486-87. Towerfailsto show thatprotectivecustody segregation atNRVRJ
subjected him to any atypical hardship, compared to other types of confinement there.
M oreover,hiscomplaintm akesclearthathisterm in thatsegregated confinementwasbriefand

was expressly intended forhisprotection. The courtcnnnotfind thattheseallegationsimplicate
any federaldueprocessrights.4




        :
        .
        ;Itisnotclear9om hispleadingswhetherTowerwasalyetrialdetaineeoracuonvictedfelonatthetimeof
the alleged violations. Claims concerning confmement conditlons imposed upon pretrialdetainees are to be
evaluated undertheDueProcessClause,ràtherthan undertheEighth Amendment. Bellv.W olssh,441U.S.520,
535-538 (1979). Dueprocessproscribesptmishmentofa detaineebeforeproperadjudication ofguilthasbeen
accomplished.ld.41(1)faparticularconditionorrestlictionofpretrialdetentionisreasonablyrelatedtoalegitimate
governmentalobjective,itdoesnot,withoutmore,amolmttopunishment'' 1d.at539. However,asapractical
matter,the contours oftheDueProcessClause in the detainee contexttend to be coextensivewith the substantive
constimtionalprinciplesapplied viatheEighth Amendmentto convictedinmates. See.e.g..Hillv.Nicodemus.979
F.2d987,991-92(4thCir.1992)(detaineemedicalclaim).
         4 The courtalso lindsno constitutionalviolation undertheproceduraldueprocess analysisapplicableto
pretrialdetainees. To show thatrestrictive confmementispunishment,apretrialdetaineemustshow Reitherthatit
was(l)imposed with an expressed intentto punish or(2)notreasonably related to a legitimate non-punitive
governmentalobjective.'' See Dilworth v.Adams,841 F.3d 246,252 (4th Cir.2016). Tower's detention in
sep egated confnement for his own protection,on its face,was neither punitive nor unrelated to a legitimate
penologicalobjective- hissafety.


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        '
        Finally, Tower's alleged inability to access the NRVRJ'S grievance procedm e as he

desired also did notimplicate any constitutionally protected right. SeeBookerv.S.C.Deo'tof

Com ,855F.3d533(4thCir.2017).EGllqnmateshavenoconstimtionalentitlementordueprocess
interestinaccesstoagrievanceprocedme.Aninmatethuscannotbring aj1983claim alleging
denialofa specific grievance process.'' Id.at541. Thus,Tower's claim ofdenialofaccessto

thegrievanceprocedureisfrivolous.

        Forthe stated reasons,the courtwillsummarily dismiss the action withoutprejudice
under j 1997e(c)(1) for failtlre to state a claim upon wllich relief can be granted.5 %
appropriate orderwillenterthisday.

        The Clerk is directed to send copies of this m emorandllm opii on and accompanying

ordertoplaintiff.

        ENTER:This IV           day ofNovember,2018.


                                                         SeniorUnited StatesDistrictJudge




        5 DismissalwithoutprejudiceleavesTowerfreetorefileoneormoreofhisclaimsin anew andseparate
civilaction,providedthathecorrectsthenoted pleading deficiencies.


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